                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

GERALD CORNELIUS ELDRIDGE,                       §
                                                 §
                               Petitioner,       §
                                                 §
v.                                               §            CIVIL ACTION NO. H-05-1847
                                                 §
WILLIAM STEPHENS, Director,                      §
Texas Department of Criminal                     §
Justice-Correctional Institutions Division,      §
                                                 §
                               Respondent.       §

        ORDER DENYING PETITIONER’S MOTION TO REOPEN JUDGMENT

       On January 31, 2013, this court entered judgment for the respondent and dismissed Gerald

Cornelius Eldridge’s petition for a writ of habeas corpus, finding that Eldridge is incompetent to be

executed. On June 28, 2013, this court denied Eldridge’s motion to alter or amend the judgment

under Fed.R.Civ.P. 59(e). Two days before the court denied the Rule 59(e) motion, Eldridge filed

additional documentary evidence in support of his claim that he is incompetent to be executed. On

July 1, 2013, he filed a motion to reopen the judgment in light of that new evidence, pointing out

that the court had issued the opinion without taking the additional evidence, filed two days earlier,

into account. (Docket Entry No. 292). Having now carefully reviewed that additional evidence, this

court finds and concludes that it does not alter the analysis or the outcome.

       Eldridge’s newly submitted evidence includes additional complaints by Eldridge that he is

hearing voices and more recent diagnoses of schizophrenia by some mental-health professionals.

Eldridge’s prescribed dosage of Thiothixene, an antipsychotic medication, has been increased.
       The newly submitted evidence is similar to the testimony and evidence presented at the

evidentiary hearings and the voluminous records the court examined. That evidence included that

Eldridge was complaining about hearing voices, experiencing other symptoms of mental illness, and

receiving antipsychotic medication. That evidence included diagnoses of schizophrenia. Both the

newly submitted evidence and the earlier evidence are primarily composed of, or based on,

Eldridge’s self-reporting of various symptoms. Neither the evidence previously submitted nor the

newly submitted evidence is a credible or reliable basis to find Eldridge incompetent to be executed.

       Although the evidence presented at the hearing and in the more recent submission includes

evidence of symptoms of mental illness, it is well recognized that mental illness does not by itself

require a finding of incompetence to be executed. A prisoner is incompetent to be executed only

when his “mental illness prevents him from comprehending the reasons for the penalty or its

implications.” Ford v. Wainwright, 477 U.S. 399, 417 (1986). A prisoner must be able to

understand “the fact of his impending execution and the factual predicate for the execution.” Panetti

v. Quarterman, 551 U.S. 930, 942, 954-55 (2007) (internal quotation marks and citations omitted).

A prisoner can be diagnosed as having mental illness and still be competent to be executed.

       Eldridge has a long and well-documented history of both feigning and exaggerating

symptoms of mental illness and mental retardation. The expert evidence on his symptoms and

diagnosis is conflicting. This court found, and continues to find after reviewing the newly submitted

evidence, that the testimony, records, and expert opinions showing that Eldridge understands that

he will be executed because he killed two people are more reliable and more credible than the

evidence Eldridge relies on to argue that the nature and extent of his mental illness makes him

incompetent. This court found that the State’s expert testimony and evidence was far more credible,


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reliable, and accurate than the petitioner’s. This court resolved the conflicts in the evidence based

on the most reliable and credible testimony and the extensive documents submitted. The resolution

of those conflicts led to the conclusion that Eldridge is competent to be executed. There was

evidence, and expert opinion based on that evidence, that amply supported the conclusion. See

Panetti v. Stephens, No. 08-70016, slip op. at 20 (5th Cir. Aug. 21,2013).

       The newly submitted evidence, considered with the record submitted earlier, fails to

demonstrate that Eldridge is incompetent to be executed. The Motion To Reopen Judgment,

(Docket Entry No. 290), is denied.

               SIGNED on August 28, 2013, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge




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